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 7
 8                           UNITED STATES DISTRICT COURT

 9                       CENTRAL DISTRICT OF CALIFORNIA

10
      JAMES RUTHERFORD, an individual,        Case No. 5:18-cv-01123-ODW-RAO
11
                Plaintiff,                    PLAINTIFF’S OBJECTIONS TO
12    v.                                      EVIDENCE FILED BY
                                              DEFENDANTS IN SUPPORT OF
13                                            DEFENDANT’S MOTION FOR
      COASTLINE PARTNERS, LLC;                PARTIAL SUMMARY JUDGMENT
14    GETTY LEADING, INC., a Delaware
      Corporation, and DOES 1-10 inclusive,   Date: October 29, 2018
15                Defendants.                 Time: 1:30 p.m.
                                              Ctrm: 5D
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                                              Honorable Judge Otis D. Wright, II
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 1   TO DEFENDANTS AND TO THEIR ATTORNEYS OF RECORD:
 2         Plaintiff James Rutherford (“Plaintiff”) hereby objects to the evidence filed by
 3   Defendants Coastline Partners, LLC and Getty Leading, Inc. (“Defendants”) in
 4   support of Defendants’ Motion for Partial Summary Judgment (“Motion”) as follows:
 5         “In a summary judgment motion, documents authenticated through personal
 6   knowledge must be attached to an affidavit that meets the requirements of [Rule
 7   56(e)] and the affiant must be a person through whom the exhibits could be admitted
 8   into evidence.” To meet the requirements of Rule 56, documents “are required to be
 9   authenticated by affidavits or declarations of persons with personal knowledge
10   through whom they could be introduced at trial.” Zoslaw v. MCA Distributing Corp.,
11   693 F.2d 870, 883 (9th Cir. 1982) (emphasis added). “A writing is not authenticated
12   simply by attaching it to an affidavit . . . The foundation is laid for receiving a
13   document in evidence by the testimony of a witness with personal knowledge of the
14   facts who attests to the identity and due execution of the document, . . . .” U.S. v.
15   Dribble, 429 F.2d 598, 601-02 (9th Cir. 1970) (finding that summary judgment should
16   cannot be predicated on insufficient affidavits that did not establish the admissibility
17   of the attached evidence). In addition, “documents do not automatically become part
18   of the record [on summary judgment] just because they are products of discovery.”
19   Hoffman v. Applicators Sales and Service, Inc., 439 F.3d 9, 14-15 (1st Dir. 2006)
20   (documents offered for summary judgment must be authenticated by someone with
21   personal knowledge); Estremera v. U.S., 442 F3d 580, 584–585 (7th Cir. 2006)
22   (declaration of attorney insufficient to authenticate documents where knowledge was
23   based only upon interviews with witnesses and review of documents).
24         Defendants’ declaration filed in support of this Motion violates these principles
25   in several respects. All of Defendants’ evidence is unauthenticated, and Defendants
26   make no attempt to properly lay the foundation for admissibility. Specifically, in his
27   declaration, Defense counsel William Adams attempts to introduce a CASp Site
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 1   Accessibility Evaluation expert report, without foundation or authentication, and
 2   purportedly authored by a third party who provides no sworn testimony for this
 3   court to consider. This is incompetent evidence that must be disregarded by the
 4   Court.
 5   I.       DECLARATION OF WILLIAM ADAMS
 6            Plaintiff objects to the declaration of Defendants’ counsel, William Adams
 7   (“Adams Decl.”) paragraphs 3-5 and Exhibit 1 attached thereto on several
 8   independent grounds. The evidence offered by Defendants is vague, conclusory, and
 9   ambiguous, lacks foundation (no firsthand knowledge and/or no testimony seeking
10   admission as a business record – although it would not qualify), is alternatively
11   hearsay (Craig Lobnow's unsworn statements) or multiple hearsay (Mr. Adams'
12   statements about Mr. Lobnow's unsworn statements and inadmissible report) under
13   the Federal Rules of Evidence. Mr. Lobnow's statements presented in the form of an
14   unsigned declaration also violate Local Rules that apply to declarations. See C.D. Cal.
15   L.R. 5-4.3.4(3). Mr. Adams declares modifications were made to the property located
16   at 2646 E Alessandro Boulevard, Riverside, CA 92508 (the “Property”), that a
17   Certified Specialist (“CASp”) inspected the property, the Property is now fully
18   ADA-complaint, and that the barriers Plaintiff alleged are “corrected.” (Adams
19   Decl. ¶¶3-4).     Through his own declaration, Mr. Adams further attempts to
20   introduce as Exhibit 1 a CASp Site Accessibility Evaluation, which is an expert
21   report. But nowhere in Defendants’ moving papers is there a declaration by the
22   CASp expert himself, which could lay the foundation for his expert opinion or
23   authenticate the report as required by Federal Rule of Evidence (“FRE”) 702.
24            As a threshold matter, Federal Rule of Evidence 602 provides that “a witness
25   may testify to a matter only if evidence is introduced sufficient to support a finding
26   that the witness has personal knowledge of the matter. Evidence to prove personal
27   knowledge may consist of the witness’s own testimony. This rule does not apply to a
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 1   witness’s expert testimony under Rule 703.” Mr. Adams is not an expert but is trying
 2   to testify as an expert witness as to expert testimony and an expert report, to which he
 3   did not prepare himself and has no personal knowledge. Therefore, paragraphs 3-4
 4   and Exhibit 1 to Adams Decl. should be stricken pursuant to FRE 602. Similarly, Mr.
 5   Adams failed to authenticate the Exhibit 1 expert report under FRE 902.
 6         Mr. Adams further failed to establish minimum standards of qualification or
 7   reliability of either himself (as an expert who makes or introduces expert testimony),
 8   or of CASp Craig Lobnow, the purported author of the Site Accessibility Evaluation,
 9   attached to the Adams Decl. as Exhibit 1 that could permit the court to consider it.
10   (Adams Decl. ¶4) Federal Rule of Evidence 702 provides that expert testimony is
11   admissible only if it satisfies four criteria: (1) the expert’s scientific, technical, or
12   other specialized knowledge will help the trier of fact understand the evidence or to
13   determine a fact in issue; (2) the testimony is based on sufficient facts or data; (3)
14   the testimony is the product of reliable principles and methods; and (4) the expert
15   has reliability applied the principles and methods to the facts of the case. Fed. R.
16   Evid. 702. The Supreme Court established in Daubert v. Merrell Dow Pharms.,
17   Inc., that the “trial judge must ensure that any and all scientific testimony or
18   evidence admitted is not only relevant, but reliable.” 509 U.S. 579, 589 (1993). It is
19   the district court’s duty to act as “gatekeeper” and scrutinize expert evidence.
20   Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147-49 (1999); Primiano v. Cook,
21   598 F.3d 558, 564 (9th Cir. 2010). “Nothing in either Daubert or the Federal Rules
22   of Evidence requires a district court to admit opinion evidence that is connected to
23   the existing data only by the ipse dixit of the expert.” Kumho, 526 U.S. at 157.
24   “When an expert’s opinion is not sufficiently tied to the facts of the case, courts
25   have found that the opinion in unreliable and should be precluded.” Dynetix Design
26   Solutions, Inc. v. Synopsys, Inc., 2013 WL 4538210, at *2 (N.D. Cal. Aug. 22,
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 1   2013); Oracle Am., Inc. v. Google Inc., 798 F. Supp. 2d 1111, 1115 (N.D. Cal.
 2   2011)
 3           The defense introduced no testimony as to its CASp expert’s qualifications,
 4   principles and methods to form his opinion, or any of the required criteria of FRE
 5   702. Nor did the defense include any declaration from CASp expert Craig Lobnow
 6   that describes any methodology by which Mr. Lobnow apparently analyzed the
 7   Property. E.g. Gable v. Nat’l Broad. Co., 727 F. Supp. 2d 815, 930- 31 (C.D. Cal.
 8   2010) aff’d sub nom. Gable v. Nat’l Broad. Co., Inc., 438 F. App’x 587 (9th Cir.
 9   2011) (excluding expert testimony where the expert had “not identified the
10   principles and methods that he used to form his opinion, making it impossible for
11   the court to evaluate whether such methods are reliable,” and where the expert
12   testimony was “entirely unsupported and conclusory.”) Therefore, the Court must
13   exclude paragraph 3-5 and Exhibit 1 of Adams Decl. because of the many
14   foundational and authentication defects of FRE 602, 702, and 902.
15           In addition to being inadmissible expert testimony under FRE 702, the
16   statements allegedly made by Mr. Lobnow are inadmissible hearsay under FRE 802.
17   The report and its accompanying documents allegedly created by Mr. Lobnow and
18   attached as Exhibit 1 to Adams Decl. are statements, made out of court, offered to
19   prove the truth of the matter asserted, and are therefore inadmissible hearsay.
20   Moreover, Exhibit 1 does not qualify for any hearsay exception under FRE 8031.
21   Similarly, Mr. Adams’ statement that Mr. Lobnow “determined that [the Property] is
22
23   1
       Exhibit 1 is not a Record of Regularly Conducted Activity under FRE 803(6),
24   because it was not “kept in the course of a regularly conducted activity of”
     Defendant [803(6)(B)], and making the record of Exhibit 1 was not a “regular
25
     practice of that activity” [803(6)(C)]. Furthermore, even Exhibit 1 did meet the
26   requirements of 803(6)(A-C), which it does not, it would fail under 803(6)(D)
     because there is no certification on record that complies with Rule 902(11) or
27
     (12).
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 1   now fully ADA compliant” is also inadmissible hearsay, and thereby creates two
 2   levels of inadmissible hearsay (both Mr. Adams’ statement and Exhibit 1 introduced
 3   by that statement). “[H]earsay evidence in Rule 56 affidavits is entitled to no weight.”
 4   Scosche Industries, Inc. v. Visor Gear Inc., 121 F.3d 675, 681 (9th Cir. 1997) (internal
 5   quotes omitted). Indeed, “hearsay evidence may not be considered in deciding
 6   whether material facts are at issue in summary judgment motions.” Paul v. Holland
 7   America Line, Inc. 463 F.Supp.2d 1203, 1206 (W.D. Wash. 2006), citing Blair Foods,
 8   Inc. v. Ranchers Cotton Oil, 610 F.2d 665, 667 (9th Cir. 1980).
 9          Finally, the documents allegedly created by Mr. Lobnow, including various
10   statements of his which would typically be included in a declaration under penalty of
11   perjury are not accompanied by his signed declaration under oath as required by C.D.
12   Cal. L.R. 5-4.3.4(3). Therefore, the Adams Decl. ¶ 4 and Exhibit 1 must be stricken
13   for being inadmissible hearsay under FRE 802 and for failure to comply with L.R. 5-
14   4.3.4(3), in addition to being inadmissible under FRE 602, 702, and 902.
15          While only legally objectionable on grounds of relevancy (FRE 402), Mr.
16   Adams states that “Plaintiff’s counsel refused each request to meet and confer and
17   refused to do dismiss all or any part of his claims.” (Adams Decl.¶5) It is notable that
18   the defense filed its motion despite no pressing deadlines after being advised that
19   Plaintiff’s attorney was on vacation in Alaska and unable to meet and confer until his
20   return. (Declaration of Craig Cote’ ¶ 3-4)
21                     SPECIFIC EVIDENTIARY OBJECTIONS
22                  TO THE DECLARATION OF WILLIAM ADAMS

23                        Proffered Evidence           Objection
       1.                                              Lacks Personal Knowledge (FRE
24
                                                       602) Mr. Adams provides no
25                  Adams Decl., at ¶ 3 (“Since        testimony that he has personal
26                  the lawsuit was filed,             knowledge of the Property, its
                    Defendants have modified           modifications, or whether
27                  the property located at 2646       “modifications” have any effect
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 1                   Proffered Evidence           Objection
                 E Alessandro Boulevard,          on the accessibility of the
 2               Riverside, CA 92508.”)           Property because he is not an
 3                                                expert.
 4                                                Irrelevant (FRE 402) That the
 5                                                Property has been “modified”,
                                                  without admissible evidence of
 6                                                how or whether the change affects
 7                                                its accessibility, is irrelevant.
 8
       2.                                         Lacks Personal Knowledge (FRE
 9                                                602) Mr. Adams is not an expert
                                                  but is trying to testify on behalf of
10
                                                  an expert witness and as to expert
11                                                testimony and introduce an expert
                                                  report, to which he did not prepare
12
                                                  himself and has no personal
13                                                knowledge.
14                 Adams Decl., at ¶ 4 (“After
                   the modifications were          Lacks Foundation (FRE 702)
15                                                Mr. Adams is not an expert but is
                   completed, Certified Access
16                 Specialist Craig Lobnow        trying to testify on behalf of an
                   (CA State No. 634) of          expert witness and as to expert
17                                                testimony and introduce an expert
                   ProCasp, inspected the
18                 property and determined it     report, to which he did not prepare
                   is now fully ADA               himself and therefore has no
19                                                foundational basis.
                   compliant, and in particular
20                 the barriers alleged by
                   Plaintiff are “corrected.”)    Lacks Authentication (FRE 902)
21                                                Mr. Adams is not an expert but is
22                                                trying to testify on behalf of an
                                                  expert witness and as to expert
23                                                testimony and introduce an expert
24                                                report, to which he did not prepare
                                                  himself, and therefore has no basis
25                                                to authenticate.
26
                                                  Inadmissible Hearsay (FRE 802)
27
                                                  Mr. Lobnow “determined that [the
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 1                    Proffered Evidence       Objection
                                               Property] is now fully ADA
 2                                             compliant” is inadmissible
 3                                             hearsay.
 4                                             Lacks Personal Knowledge (FRE
       3.
 5                                             602) Mr. Adams is not an expert
                                               but is trying to testify on behalf of
 6                 Exhibit 1 to Adams Decl.
                                               an expert witness and as to expert
 7                                             testimony and introduce an expert
                                               report, to which he did not prepare
 8
                                               himself and has no personal
 9                                             knowledge.
10
                                               Lacks Foundation (FRE 702)
11                                             Mr. Adams is not an expert but is
                                               trying to testify on behalf of an
12
                                               expert witness and as to expert
13                                             testimony and introduce an expert
14
                                               report, to which he did not prepare
                                               himself and therefore has no
15                                             foundational basis. The defense
16                                             further provided no evidence as to
                                               the qualifications, principles and
17                                             methods for Craig Lobnow to
18                                             form his opinion.

19                                             Lacks Authentication (FRE 902)
20                                             Mr. Adams is not an expert but is
                                               trying to testify on behalf of an
21                                             expert witness and as to expert
22                                             testimony and introduce an expert
                                               report, to which he did not prepare
23                                             himself, and therefore has no basis
24                                             to authenticate.
25                                             Inadmissible Hearsay (FRE 802)
26                                             The report and its accompanying
                                               documents allegedly created by
27
                                               Mr. Lobnow and attached as
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 1                    Proffered Evidence            Objection
                                                    Exhibit 1 to Adams Decl. are
 2                                                  statements, made out of court,
 3                                                  offered to prove the truth of the
                                                    matter asserted.
 4
 5                                                  Testimony that fails to comply
                                                    with L.R. 5-4.3.4(3)
 6
      4.                                            Lacks Personal Knowledge (FRE
 7                                                  602) Mr. Adams provides no
                                                    testimony that he has personal
 8                 Adams Decl., at ¶ 5 (“I
                                                    knowledge about whether the
                   emailed Plaintiff’s
 9                                                  property is “fully compliant” or
                   attorneys on August 23,
                                                    conclusions as to accessibility
10                 2018, Sept. 7, 2018 and
                                                    based on an unauthenticated
                   Sept. 10, 2018, attaching
11                                                  report.
                   the CASp Inspection report
12                 showing the property to be
                                                    Lacks Foundation (FRE 702) and
                   fully compliant and
13                                                  Lacks Authentication (FRE 902)
                   requesting to meet and
14
                                                    as to the report.
                   confer regarding dismissal.
15
                   Nevertheless, Plaintiff’s
                                                    Irrelevant (FRE 402) Irrelevant
                   counsel refused each
16                                                  that Plaintiff’s counsel failed to
                   request to meet and confer
                                                    dismiss all or part of his claims
17                 and refused to do dismiss
                                                    based on Defendant’s counsel’s
                   all or any part of his claims.
18                                                  half-hearted attempt to meet and
                                                    confer, despite no pressing
19                                                  deadlines and being informed that
20                                                  Plaintiff’s counsel was on
                                                    vacation and unable to meet and
21                                                  confer until his return.
22                                                  (Declaration of Craig Cote’ ¶ 3-4)
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 1                                  CONCLUSION
 2         For the reasons stated herein, Plaintiffs requests that paragraphs 3-5 and
 3   Exhibit 1 of Mr. Adams declaration be disregarded and stricken.
 4
 5
     DATED: October 5, 2018             Respectfully submitted,
 6
 7                                      MANNING LAW APC

 8
 9                                      By: /s/ Joseph R. Manning, Jr.
                                            Joseph R. Manning, Jr., Esq.
10                                          Attorneys for Plaintiff
11                                         JAMES RUTHERFORD
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